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LUCILE SALTER PACKARD CHILDREN'S

HOSPITAL AT STANFORD

UNITED STATES DISTRICT COURT

FOR THE DISTICT OF IDAHO
LUCILE SALTER PACKARD Case No.:
CHILDREN'S HOSPITAL AT

STANFORD, a California nonprofit
corporation,

Plaintiff,
VS.

IDAHO AGC SELF-FUNDED
BENEFIT TRUST, a voluntary
employees benefit association pursuant
to 26 U.S.C. § 501(c)(9), BLUE CROSS
OF IDAHO HEALTH SERVICES INC.
d/b/a BLUE CROSS OF IDAHO and
DOES | THROUGH 25, INCLUSIVE,

Defendants.

COMPLAINT FOR DAMAGES FOR:

I. BREACH OF IMPLIED-IN-
FACT CONTRACT; and

2. QUANTUM MERUIT

 

 

 

 

 

FC 22738 -]- COMPLAINT FOR DAMAGES FOR: 1. BREACH OF

IMPLIED-IN-FACT CONTRACT; and 2. QUANTUM MERUIT,

 
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PARTIES, JURISDICTION AND VENUE

1. Plaintiff LUCILE SALTER PACKARD CHILDREN'S
HOSPITAL AT STANFORD ("LUCILE PACKARD CHILDREN’S
HOSPITAL") is a nonprofit corporation organized and existing pursuant to the
laws of the State of California. LUCILE PACKARD CHILDREN’S HOSPITAL
has its principal place of business in the City of Palo Alto, County of Santa Clara,
State of California. LUCILE PACKARD CHILDREN’S HOSPITAL renders

medically necessary care to patients.

2. Defendant IDAHO AGC SELF-FUNDED BENEFIT TRUST
("IDAHO BENEFIT TRUST") is a voluntary employees benefit association
organized and existing pursuant to the laws of the United States of America,
specifically 26 U.S.C. § 501(c)(9). IDAHO BENEFIT TRUST has its principal
place of business in the City of Boise, State of Idaho. Among other things,
IDAHO BENEFIT TRUST is in the business of arranging; providing, and/or
paying for the provision of health care services to its enrollees. IDAHO BENEFIT
TRUST administers its healthcare services through a network of private health
insurances, including, but not limited to, BLUE CROSS OF IDAHO HEALTH
SERVICES, INC. d/b/a BLUE CROSS OF IDAHO.

3. Defendant BLUE CROSS OF IDAHO HEALTH SERVICES,
INC. d/b/a BLUE CROSS OF IDAHO (“BCI”) is a corporation that does business
in Idaho and is organized and existing pursuant to the laws of the State of Idaho. It
has its principal place of business in the City of Meridian, State of Idaho. Among
other things, BCI sponsors and administers health plans pursuant to written
agreements with an employer, state or federal agency, or other organizations that

specifies the services to be covered under the plans. At all times relevant hereto

 

FC 22738 -2- COMPLAINT FOR DAMAGES FOR: |. BREACH OF
IMPLIED-IN-FACT CONTRACT; and 2. QUANTUM MERUIT|

 
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BCI was the third-party administrator for [IDAHO BENEFIT TRUST as its agent.
BCI was vested with the discretion to provide general administrative services and
benefit payment services to IDAHO BENEFIT TRUST in accordance with the
terms of the written agreement between IDAHO BENEFIT TRUST and BCI.

4. | LUCILE PACKARD CHILDREN’S HOSPITAL is unaware of
the true names and capacities, whether corporate, associate, individual, partnership
or otherwise of defendants Does 1 through 25, inclusive, and therefore sues such
defendants by such fictitious names. LUCILE PACKARD CHILDREN’S
HOSPITAL will seek leave of the Court to amend this complaint to allege their

true names and capacities when ascertained.

5. Defendants IDAHO BENEFIT TRUST, BCI and Does 1
through 25, inclusive, shall be collectively referred to as "DEFENDANTS."

6. This Court has subject matter jurisdiction over this action
pursuant to 28 U.S.C §1332 because the matter in controversy alleged herein
involves diversity of citizenships of the parties. For the purposes of jurisdiction,
LUCILE PACKARD CHILDREN’S HOSPITAL is a citizen of California and
IDAHO BENEFIT TRUST and BCI are citizens of Idaho.

7. This Court has personal jurisdiction over defendant because the
DEFENDANTS transact business within the State of Idaho, have contracted with
and provided health benefits to individuals residing within the State of Idaho, and
have committed the acts and/or omissions giving rise to this lawsuit within the

State of Idaho.

8. Venue is proper in this district pursuant to 28 U.S.C. § 1391

 

FC 22738 -3- COMPLAINT FOR DAMAGES FOR: 1. BREACH OF
IMPLIED-IN-FACT CONTRACT; and 2, QUANTUM MERUITI

 
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because DEFENDANTS reside within this district.

9. At all relevant times each of the defendants, including the
defendants named "Doe," was and is the agent, employee, employer, joint venturer,
representative, alter ego, subsidiary, and/or partner of one or more of the other
defendants, and was, in performing the acts complained of herein, acting within the
scope of such agency, employment, joint venture, or partnership authority, and/or
is in some other way responsible for the acts of one or more of the other

defendants.
COMMON FACTUAL BACKGROUND

1. At all relevant times, LUCILE PACKARD CHILDREN’S
HOSPITAL entered into a Blue Cross and Blue Shield National Transplant
Network agreement with Blue Cross and Blue Shield Association (“BCBSA”), a
non-party to this action, as a provider of medically necessary transplant care for the
benefit of all enrollees of health plans that were or would be registered to access
the Blue Cross and Blue Shield National Transplant Network (the “BCBS National

Transplant Network Agreement”).

2. BCBSA contracts with networks of health plans or third-party
administrators. The Blue Cross and Blue Shield National Transplant Network
allowed for more patients to be directed to the network facilities and provided

discount rates to the network health plans.

3. BCI was in network with BCBSA for the transplant services.
IDAHO BENEFIT TRUST accessed the BCBSA Network and the discounted rates
through its third-party administrator BCI, because IDAHO BENEFIT TRUST had

FC 22738 -4- COMPLAINT FOR DAMAGES FOR: 1. BREACH OF
IMPLIED-IN-FACT CONTRACT; and 2. QUANTUM MERUITI

 

 
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an agreement with BCI to gain access to the BCBS National Transplant Network
and the BCBS National Transplant Network Agreement Rates through the
BlueCard® Program.

4. Under the BCBS National Transplant Network Agreement,
LUCILE PACKARD CHILDREN’S HOSPITAL agreed to render medically
necessary transplant related care to the individual enrollees of IDAHO BENEFIT
TRUST health plan; in exchange, IDAHO BENEFIT TRUST, through and by its
administrator BCI, agreed to pay LUCILE PACKARD CHILDREN’S HOSPITAL
the negotiated rates pursuant to the terms of the BCBS National Transplant
Network Agreement for that care rendered to IDAHO BENEFIT TRUST’s

enrollees.

5. In general, the negotiated rates under the BCBS National
Transplant Network Agreement is a discount off of LUCILE PACKARD
CHILDREN’S HOSPITAL’s usual, customary and regular total billed charges (the
“BCBS National Transplant Network Agreement Rates”).

6. At all relevant times, DEFENDANTS agreed to pay LUCILE
PACKARD CHILDREN’S HOSPITAL for the medically necessary care rendered
to the individual enrollees of IDAHO BENEFIT TRUST health plan at the BCBS

National Transplant Network Agreement Rates.

7. LUCILE PACKARD CHILDREN’S HOSPITAL is informed

and believes and thereon alleges that at all relevant times Patient TT! (with

 

1 In deference to the Patients' privacy concerns enumerated in Cal. Const. Art. I, § las
well as the Health Insurance Portability and Accountability Act of 1996 (42 U.S.C. §§
Continued on next page

FC 22738 -5- COMPLAINT FOR DAMAGES FOR: 1. BREACH OF
IMPLIED-IN-FACT CONTRACT; and 2. QUANTUM MERUIT|

 
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Subscriber ID No. AMG970546659) was an enrollee of IDAHO BENEFIT
TRUST?’s health plan.

8. At all relevant times, IDAHO BENEFIT TRUST held itself out
to be the responsible payer for the medically necessary care provided to Patient

TT.

9. On or about June 19, 2014, LUCILE PACKARD
CHILDREN’S HOSPITAL received a request for a heart transplant evaluation for
Patient TT from BCI, an agent of IDAHO BENEFIT TRUST.

10. On or about September 26, 2014, LUCILE PACKARD
CHILDREN’S HOSPITAL received an authorization letter from BCI approving

the heart transplant procedure. The authorization was valid through September 24,

2015.

11. Thereafter, BCI worked with LUCILE PACKARD
CHILDREN’S HOSPTIAL to coordinate the pending medically necessary care to
Patient TT.

12. On or about April 20, 2015, LUCILE PACKARD
CHILDREN’S HOSPITAL admitted Patient TT to its facility and notified BCI of
the admission. In response, BCI affirmed the admission was authorized by

providing authorization number 140924123.

 

1320d et seq.), LUCILE PACKARD CHILDREN’S HOSPITAL omitted here
information sufficient to reveal the identity of Patients.

 

FC 22738 -6- COMPLAINT FOR DAMAGES FOR: I. BREACH OF
IMPLIED-IN-FACT CONTRACT; and 2. QUANTUM MERUIT}

 
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13. LUCILE PACKARD CHILDREN’S HOSPITAL rendered
medically necessary care to Patient TT from April 17, 2015 through May 19, 2015.

14. Atall relevant times, IDAHO BENEFIT TRUST and/or its
agent BCI authorized the medical services rendered to the Patient TT and verified

Patient TT’s eligibility and benefits.

15. LUCILE PACKARD CHILDREN’S HOSPITAL’s usual,
customary and regular total billed charges for the medically necessary care
rendered to Patient TT from April 17, 2015 through May 19, 2015, amounted to
$2,542,301.39.

16. LUCILE PACKARD CHILDREN’S HOSPITAL timely and
properly submitted to BCI, the agent of IDAHO BENEFIT TRUST, the bill for

payment for the medically necessary care rendered to Patient TT.

17. On or about September 24, 2015, BCI, the agent of IDAHO
BENEFIT TRUST, confirmed that the medically necessary care rendered to Patient
TT from April 17, 2015 through May 19, 2015 would be reimbursed in accordance
with the BCBS National Transplant Network Agreement Rates, which amounted to
$1,779,610.97.

18. IDAHO BENEFIT TRUST paid only $677,196.51.

19. Despite demands thereof, IDAHO BENEFIT TRUST refused to
pay LUCILE PACKARD CHILDREN’S HOSPITAL the outstanding amount due.

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FC 22738 -7- COMPLAINT FOR DAMAGES FOR: 1. BREACH OF
IMPLIED-IN-FACT CONTRACT; and 2. QUANTUM MERUIT|

 

 
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FIRST CAUSE OF ACTION
(Breach-of-Contract Implied-in-Fact)
(Against all DEFENDANTS)

20. LUCILE PACKARD CHILDREN’S HOSPITAL incorporates
by reference and re-alleges paragraphs 1 through 19 here as though set forth in full.

21. This case is subject to the BCBS National Transplant Network

Agreement, effective August 1, 1997, and the applicable amendments.

22. By virtue of the conduct described above, LUCILE PACKARD
CHILDREN’S HOSPITAL and IDAHO BENEFIT TRUST, by and through its
agent BCI, entered into an implied-in-fact contract, which was created when BCI
authorized the medically necessary services to Patient TT, who was an enrollee of
IDAHO BENEFIT TRUST’s health plan; and LUCILE PACKARD
CHILDREN’S HOSPITAL agreed to provide medically necessary care to Patient
TT in exchange for reimbursement by IDAHO BENEFIT TRUST at the BCBS

National Transplant Network Agreement Rates.

23. LUCILE PACKARD CHILDREN’S HOSPITAL complied
with all, or substantially all of the material provisions of the implied-in-fact

contract (i.e., it rendered medically necessary care to Patient TT).

24. All conditions required for IDAHO BENEFIT TRUST’s

performance have occurred.

25. IDAHO BENEFIT TRUST breached the implied-in-fact
contract by underpaying LUCILE PACKARD CHILDREN’S HOSPITAL, leaving

FC 22738 -8- COMPLAINT FOR DAMAGES FOR: 1. BREACH OF
IMPLIED-IN-FACT CONTRACT; and 2. QUANTUM MERUIT|

 

 
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an outstanding amount of $1,102,414.46 for the medically necessary care rendered

to Patient TT by LUCILE PACKARD CHILDREN’S HOSPITAL, despite demand

therefor.

26. Asa direct and proximate result of IDAHO BENEFIT
TRUST’s misconduct, LUCILE PACKARD CHILDREN’S HOSPITAL has been
damaged in the amount of $1,102,414.46.

SECOND CAUSE OF ACTION
(Common Count — Quantum Meruit)
(Against all DEFENDANTS)

27. LUCILE PACKARD CHILDREN’S HOSPITAL incorporates
by reference and re-alleges paragraphs | through 19 here as though set forth in full.

28. In the alternative, should it be found no contractual relationship
exists between LUCILE PACKARD CHILDREN’S HOSPITAL and IDAHO
BENEFIT TRUST, LUCILE PACKARD CHILDREN’S HOSPITAL should

nevertheless be fully paid under the theory of guantum meruit.

29. The doctrine of quantum meruit permits recovery of the
reasonable value of the services rendered or the materials provided. Bakker v.

Thunder Spring-Wareham, LLC (2005) 141 Idaho 185, 191.

30. LUCILE PACKARD CHILDREN’S HOSPITAL is informed
and believes and thereon alleges that IDAHO BENEFIT TRUST promised its

beneficiaries (including the Patient TT or her representatives) it would arrange for

 

FC 22738 -9- COMPLAINT FOR DAMAGES FOR: 1. BREACH OF
IMPLIED-IN-FACT CONTRACT; and 2. QUANTUM MERUIT|

 
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and/or pay for medically necessary care needed by them. Accordingly, when
LUCILE PACKARD CHILDREN’S HOSPITAL rendered medically necessary
care to Patient TT, IDAHO BENEFIT TRUST benefited because LUCILE
PACKARD CHILDREN’S HOSPITAL thereby assisted IDAHO BENEFIT
TRUST in meeting its obligation to arrange for and/or pay for medically necessary

care to its enrollees, including Patient TT.

31. By its words and/or conduct, including the provision of an
authorization number, IDAHO BENEFIT TRUST and/or its agent BCI requested
that LUCILE PACKARD CHILDREN’S HOSPITAL provide Patient TT with

medically necessary care.

32. Acting pursuant to IDAHO BENEFIT TRUST’s implied and/or
express request, LUCILE PACKARD CHILDREN’S HOSPITAL provided

medically necessary care to Patient TT.

33. LUCILE PACKARD CHILDREN’S HOSPITAL’s rendering
of medically necessary care to Patient TT was intended to, and did, benefit Patient

TT, and therefore IDAHO BENEFIT TRUST.

34. For rendering the medically necessary care to Patient TT,
LUCILE PACKARD CHILDREN’S HOSPITAL reasonably expected IDAHO
BENEFIT TRUST to fully reimburse LUCILE PACKARD CHILDREN’S
HOSPITAL its billed charges at its usual, customary and regular rates.

35. LUCILE PACKARD CHILDREN’S HOSPITAL’s billed
charges for the medically necessary care it rendered to Patient TT amounted to

$2,542,301.39.

FC 22738 -10- COMPLAINT FOR DAMAGES FOR: 1. BREACH OF
IMPLIED-IN-FACT CONTRACT; and 2. QUANTUM MERUIT|

 

 
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36. IDAHO BENEFIT TRUST paid $677,196.51, but refused to
pay the remaining balance of $1,865,104.88, despite demands therefor.

37. Within the past four years, LUCILE PACKARD CHILDREN’S
HOSPITAL demanded IDAHO BENEFIT TRUST and/or its agent pay for the
medically necessary care rendered to Patient TT but IDAHO BENEFIT TRUST

refused.

38. Asaresult of IDAHO BENEFIT TRUST’s misconduct,
LUCILE PACKARD CHILDREN’S HOSPITAL has suffered damages in an
amount to be proven at trial according to proof but which exceeds $1,865,104.88,

exclusive of interest.

PRAYER FOR RELIEF

WHEREFORE, LUCILE PACKARD CHILDREN’S HOSPITAL prays for

judgment as follows:

For the First Cause of Action stated herein:
1. for the principal sum of $1,102,414.46;

2. for all costs of suit incurred herein;

3. for interest penalties;

4. for all other damages allowed by law;

5. for prejudgment interest;

6. for interest, costs and attorney’s fees pursuant Idaho Code § 12-

201(3) and Idaho Code § 41-1839 or any other applicable state or federal laws;
7. for interest on such principal sum at the rate of 12% per annum,

pursuant to Idaho Code § 28-22-104;

FC 22738 -1ll- COMPLAINT FOR DAMAGES FOR: I. BREACH OF
IMPLIED-IN-FACT CONTRACT; and 2. QUANTUM MERUIT

 

 
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8. for such other and further relief as the Court deems just and

equitable.

For the Second Cause of Action stated herein:

9, for the principal sum of $1,865,104.88;

10. for all costs of suit incurred herein;

11. for interest penalties;

12. for all other damages allowed by law;

13. for prejudgment interest;

14. for interest, costs and attorney’s fees pursuant Idaho Code § 12-
201(3) and Idaho Code § 41-1839 or any other applicable state or federal laws;

15. for interest on such principal sum at the rate of 12% per annum,
pursuant to Idaho Code § 28-22-104;

16. for such other and further relief as the Court deems just and

equitable.

Dated: May 17, 2019

STEPHENSON, ACQUISTO & COLMAN, INC.

/sSISIN HEE PARK

 

BARRY SULLIVAN
JIN HEE PARK
Attorneys for
LUCILE SALTER PACKARD CHILDREN'S
HOSPITAL AT STANFORD

 

FC 22738 -12- COMPLAINT FOR DAMAGES FOR: 1. BREACH OF
IMPLIED-IN-FACT CONTRACT; and 2. QUANTUM MERUIT|

 
